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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )
    v.                             )        CRIMINAL ACTION NO.
                                   )          2:12cr84-MHT
ALMETTA JOHNSON                    )               (WO)


                        OPINION AND ORDER

    Defendant Almetta Johnson has been charged in a

seven–count    indictment,        which    includes    one   count     of

conspiracy to defraud the United States and six counts of

theft of public funds.

    This matter is now before the court on Johnson’s

motion in limine, in which she requests, among other

things, a James hearing for the court to determine in

advance of trial whether she was a party to a conspiracy

for purposes of applying Rule 801(d)(2)(E) of the Federal

Rules of Evidence.      That rule provides the circumstances

under     which    out-of-court           statements    by     alleged

co-conspirators      may     be     admitted      at    trial.         A

co-conspirator statement is considered an admission by a
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party opponent and is admissible if offered against a

party and if it “was made by the party’s coconspirator

during and in furtherance of the conspiracy.”                       Fed. R.

Evid. 801(d)(2)(E).

      In United States v. James, 590 F.2d 575 (5th Cir.

1979), the former Fifth Circuit Court of Appeals set out

the procedure for determining whether a co-conspirator

statement meets the requirements of Rule 801(d)(2)(E).

(In Bonner v. Prichard, 661 F.2d 1206, 1209 (11th Cir.

1981) (en banc), the Eleventh Circuit Court of Appeals

adopted as binding precedent all of the decisions of the

former Fifth Circuit handed down prior to the close of

business      on    September     30,       1981.)     Under    James,    the

government bore the burden of proving the existence of an

underlying         conspiracy       by        “substantial”         evidence

“independent         of    the    hearsay        declarations       of    the

coconspirators.”           James,       590    F.2d    at   580–581.      The

court's determination of whether the government has met

its    burden      could   be    made       pretrial   during   a   hearing



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outside the presence of the jury, or a statement could be

admitted subject to the requirement that the government

will “connect it up” by the end of trial, that is, will

establish a proper foundation for the admission of the

statement.         Id.    at    581–82.        But,     under     James,    the

“preferred”       order    of     proof       was   a    pretrial       hearing

“whenever      reasonably       practicable,”           wherein    the    trial

court would assess the evidence of a conspiracy before

admitting co-conspirator statements, id. at 582, though

the     Eleventh     Circuit          Court    of   Appeals       has    later

re-emphasized       that       such    hearings     are    not    mandatory.

United States v. Espino–Perez, 798 F.2d 439, 441 (11th

Cir. 1986).

       The       practical            underpinnings          to         James's

pretrial-hearing preference were significantly undermined

by the Supreme Court's ruling in Bourjaily v. United

States, 483 U.S. 171 (1987).                   There, the Court held,

contrary to what was said in James, that the government

need     prove     the     preliminary         facts       establishing      a



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conspiracy only by a preponderance of the evidence and

that    the   statements          sought     to        be     admitted   could

themselves be examined as evidence of the underlying

conspiracy.    Id. at 176, 181.            Rule 801 was subsequently

revised to incorporate the Bourjaily ruling, stating:

“The statement must be considered but does not by itself

establish     ...    the    existence        of        the     conspiracy      or

participation       in     it.”       Fed.        R.        Evid.   801(d)(2).

Currently, “[f]or evidence to be admissible under Rule

801(d)(2)(E),       the      government           must         prove     by    a

preponderance       of   the      evidence    these           things:    (1)   a

conspiracy    existed;       (2)    the    conspiracy           included      the

declarant and the defendant against whom the statement is

offered; and (3) the statement was made during the course

and in furtherance of the conspiracy.”                       United States v.

Hasner, 340 F .3d 1261, 1274 (11th Cir. 2003).

       Johnson does not raise any arguments specific to the

facts of her case, but only invokes the generalized

concern that if this court forgoes holding a pretrial



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James hearing, she may suffer irreversible prejudice at

trial.       The government responds that holding a James

hearing is no longer the norm in the Eleventh Circuit and

that    it    would    be    more   efficient      to    admit    the     co-

conspirator statements at issue subject to their being

connected up by the close of the government's evidence.

The    government     also    correctly      notes      that   this   court

routinely handles evidentiary issues at trial.                   The court

may do so by instructing the jury as to what evidence it

may consider in relation to each defendant.                      (In that

regard, it should be noted that, unlike at the time James

was decided, jury instructions are usually now given not

only orally but in writing, with the jurors able to

consult      the    written      instructions        throughout       their

deliberations.)

       Having considered the submissions of both parties as

well as the record developed so far as a whole, the court

concludes that a James hearing is not necessary in this

case, for the court can adequately address Johnson’s



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evidentiary concerns during the trial itself. See United

States v. Sanchez, 722 F.2d 1501, 1507 (11th Cir. 1984)

(holding that a separate James hearing was not required

and it was not error to decide the James issue after the

government had introduced the statements into evidence).



                                 ***

    Accordingly, for the foregoing reason, it is ORDERED

that defendant Almetta Johnson’s motion in limine (Doc.

No. 184), in which defendant Johnson asks for a pretrial

hearing for the court to determine the existence of a

conspiracy, is denied.

    DONE, this the 5th day of November, 2012.

                             /s/ Myron H. Thompson
                          UNITED STATES DISTRICT JUDGE
